




NO. 07-04-0055-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



AUGUST 25, 2004

______________________________



WILLIAM JAMES PEDDICORD, 



Appellant



v.



THE STATE OF TEXAS, 



Appellee

_________________________________



FROM THE 108
TH
 DISTRICT COURT OF POTTER COUNTY;



NO. 48,220-E; HON. ABE LOPEZ, PRESIDING

_______________________________



ON ABATEMENT AND REMAND

_______________________________



Before QUINN, REAVIS, and CAMPBELL, JJ.

Appellant William James Peddicord appeals his conviction for possessing a controlled substance. &nbsp;In reviewing the 
Anders
 brief filed by counsel for appellant, we discovered that although there appears in the record a document entitled “Trial Court’s Certification of Defendant’s Right of Appeal,” it was not fully executed. &nbsp;That is, the trial court did not designate in it whether appellant had any right to appeal. &nbsp;

Applicable rule of procedure mandates that the trial court’s certification of the defendant’s right of appeal be included in the record, which certification may be added by amendment, supplement, or order of this court. &nbsp;
Tex. R. App. P. 
25.2(d).

We, therefore, abate this appeal and remand the cause to the trial court and direct it to certify, through written order, whether appellant has the right of appeal. &nbsp;Furthermore, the trial court shall cause the written order manifesting its decision to be included in a supplemental clerk’s record. &nbsp;If any hearing is held on the matter, it shall be transcribed, which transcription the trial court shall cause to be included in a supplemental reporter’s record. &nbsp;So too is the trial court directed to cause both the supplemental clerk’s and reporter’s records to be filed with the Clerk of this Court on or before Friday, September 24, 2004. &nbsp;Should the trial court require more time to comply with the directions of this Court, it must request an extension prior to September 24, 2004. &nbsp;

Accordingly, the appeal is abated and the cause is remanded for further proceedings.



Per Curiam



Do not publish.


